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            IN THE UNITED STATES DISTRICT COURT
                FOR THE DISTRICT OF COLUMBIA

                                  §
Mr. Sloan Manning,                §
     Plaintiff,                   §       Case No. _______________
v.                                §
                                  §       COMPLAINT
U.S. Office of Personnel          §
Management,                       §
     Defendant.                   §
                                  §


              COMPLAINT OF MR. SLOAN MANNING

     This is an action under Title VII of the Civil Rights Act of 1964, as

amended, 42 U.S.C. § 2000e, et seq., the Rehabilitation Act of 1973, as

amended, 29 U.S.C. § 701 et seq., the Americans with Disabilities Act of

1990, as amended, 42 U.S.C. § 12101 et seq., and Section 1557 of the

Affordable Care Act, 42 U.S.C. §18116. It also brings constitutional

counts alleging sex discrimination and disability discrimination in

violation of the United States Constitution, including the Fifth

Amendment, Fourteenth Amendment, Nineteenth Amendment, and the

Twenty-eighth Amendment.

     As set forth below, Plaintiff Mr. Manning alleges that Defendant

the U.S. Office of Personnel Management subjected him to sex and



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  disability discrimination in violation constitutional equal protection and

  federal nondiscrimination statutes on the basis of his sex and disability.

                                  PARTIES

1. Plaintiff Mr. Sloan Manning is a former federal employee. During his

   employ at the United States Department of Treasury’s Internal Revenue

   Bureau and through present Mr. Manning has resided in Atlanta,

   Georgia with his wife.

2. Defendant U.S. Office of Personnel Management (OPM) is a federal

   agency housed within the Executive Branch and headquartered in

   Washington, D.C. As pertinent to this suit, OPM operates as human

   resources for federal employees. One of OPM’s responsibilities is to

   provide, review, and ensure that the fringe benefit health plans provided

   to federal employees abide by nondiscrimination requirements imposed

   by federal statute and the United States Constitution.

                       JURISDICTION AND VENUE

3. This Court has jurisdiction over this action pursuant to 28 USC § 1331

  because it involves federal statutory and constitutional claims.

4. Venue is proper in the District Court for the District of Columbia

  pursuant to 28 USC § 1391(e). Defendant, a federal agency, is



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     headquartered and resides in this district and a substantial part of the

     events or omissions giving rise to the claim occurred in Washington, D.C.

5. Mr. Manning timely filed a federal sector EEO complaint against

     Defendant OPM which was marked OPM Case No. 2015024.

6. All conditions precedent to the filing of suit have been performed or have

     occurred.

                                      FACTS

7. Mr. Manning is a male citizen of the United States.

8.     Mr. Manning is a man.

9.     Mr. Manning is Black.

10.    Mr. Manning is visually impaired and legally blind.

11.    Mr. Manning is a transsexual man.

12.    Mr. Manning has gender dysphoria.

13.    Mr. Manning holds a Bachelor of Science in Family, Youth and

       Community Sciences, awarded to him by the University of Florida in

       December 2008.

14.    Mr. Manning seeks to remedy illicit coverage denials he experienced.

       Additionally, he aims to help OPM grasp that his entitlement to

       covered services free from discrimination—a right guaranteed to all



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      federal employees—is not extinguished by the fact that he is a trans

      man with gender dysphoria.

OPM is Responsible for the FEHB Program

   15.   OPM directly contracts for, manages, and oversees provision of the

      Federal Employee Health Benefits program (FEHB), a cluster of fringe

      benefits offered to federal government employees.

   16.   Many Americans pursue careers civil service with the federal

      government because of its reputation for providing quality,

      nondiscriminatory healthcare plans through the FEHB program for

      which OPM is solely responsible.

   17.   The federal government manages one of the largest employer

      health benefits schemes in the nation, with close to 3,000,000 total

      employees and beneficiaries currently participating in FEHB plans.

   18.   The FEHB program also provides health benefits coverage to nearly

      all civilian federal employee retirees.

   19.   Presently, OPM estimates that the FEHB program provides

      benefits to an estimated 8,300,000 persons.

   20.   OPM contracts with private health insurers, of which Aetna is one

      example, who operate as third-party administrators of FEHB plans.


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   21.   OPM ostensibly operates as human resources for the federal

      government. In this capacity, OPM is responsible for ensuring that the

      third-party administrators it employs to manage FEHB plans comply

      with constitutional and statutory law that governs the provision and

      management of health benefits offered to federal employees, retirees,

      and their respective beneficiaries.

Gender Dysphoria and Treatment

   22.   Gender dysphoria, also sometimes termed transsexualism, is a

      medical diagnosis applicable to persons who have a deep, persistent

      and consistent, understanding of their sex assigned at birth not

      matching their internal sense of sex.

   23.   Persons     with   gender   dysphoria     are    often   termed     trans,

      transgender, or transsexual. These terms are for the most part

      synonymous.

   24.   The American Psychiatric Association’s Diagnostic and Statistical

      Manual of Mental Disorders Version 5 (DSM-V) recognizes gender

      dysphoria as a medical condition. Gender dysphoria is defined by the

      DSM-V     as   a   “marked incongruence         between     [the   patient’s]

      experienced or expressed gender and the one they were assigned at


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         birth” and “is associated with clinically significant distress or

         impairment in social, occupational or other important areas of

         functioning.”

25.     Scientific studies have shown that trans persons have brain

        structures that are typical of nontrans persons with the same gender

        identity.

  26.       Because gender dysphoria is biologically based, efforts to change a

      person’s gender identity are both unethical and futile.

  27.       Gender dysphoric individuals undergo a medically indicated sex

      transition in order to ameliorate the debilitation of the condition and live

      life consistent with their gender identity.

  28.       The World Professional Association for Transgender Health

      (WPATH) is an international association of medical professionals who

      treat gender dysphoria. Since its founding in 1979, WPATH has been

      broadly recognized as the leading authority on treatment best practices

      for gender dysphoria in the United States.

  29.       Every few years, WPATH promulgates a peer review publication

      titled the WPATH Standards of Care, which recommends an




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individualized approach to treatment of gender dysphoria, consisting of

one or more of the following protocol components of evidence-based care:

      a. Changes in gender expression and role (which may involve

         living part time or full time in another gender role, consistent

         with one’s gender identity);

      b. Hormone therapy to feminize or masculinize the body;

      c. Surgery to change primary and/or secondary sex characteristics

         (e.g. breasts/chest, external and/or internal genitalia, facial

         features, body contouring).

30.   Without treatment, gender dysphoric adults experience a range of

  debilitating psychological symptoms such as anxiety, depression,

  suicidality, and other attendant mental health issues.            They are

  frequently socially isolated, as they carry a burden of shame and low

  self-esteem, attributable to the feeling of being inherently “defective.”

  This leads to stigmatization, and over time proves ravaging to healthy

  personality development and interpersonal relationships.

31.   Without treatment, many gender dysphoric people are unable to

  adequately function in occupational, social or other areas of life.




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32.   A key component of medical treatment for gender dysphoric

  individuals is to live in sex role and be regarded by others consistent

  with their internal sense of sex (sometimes termed gender identity). If

  any aspect of this social role transition is impeded, it will undermine

  an individual’s core identity and psychological health.

33.   The failure to treat a man with gender dysphoria as a man

  intensifies the dysphoria, undermines medical treatment, increases

  emotional distress and can precipitate psychiatric disorders.

34.   For individuals with severe gender dysphoria, hormone therapy

  alone is insufficient. In these cases, dysphoria does not abate without

  surgical intervention.

35.   Hormone treatment has no effect on breast size, therefore, the most

  important    surgical    procedure       for   transgender      men     is     chest

  reconstruction surgery. This procedure allows an individual to live

  safely and comfortably in the affirmed male role and normalizes life.

36.   Decades of methodologically sound and rigorous medical research

  have demonstrated that gender confirmation surgery is a safe and

  effective treatment for severe Gender Dysphoria and, indeed, for

  many, it is the only effective treatment.



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37.         The     American      Medical      Association,     the    American

  Psychiatric Association,        the    American         Academy     of   Family

  Physicians,      the    American       College     of     Obstetricians      and

  Gynecologists, the        American        Urological      Association,       and

  WPATH have all publicly endorsed the efficacy of medical

  therapies, including hormone treatments, for transgender persons.

38.         The     American      Medical      Association,     the    American

  Psychiatric Association,        the    American         Academy     of   Family

  Physicians,      the    American       College     of    Obstetricians       and

  Gynecologists, t h e A m e r i c a n U r o l o g i c a l A s s o c i a t i o n ,

  and WPATH all recognize that medical therapies, including

  hormone treatments, are a form of medically necessary care for

  transgender persons.

39.          The     American      Medical     Association,     the    American

  Psychiatric Association,        the    American         Academy     of   Family

  Physicians,      the    American       College     of     Obstetricians      and

  Gynecologists, the American Urological Association, and WPATH

  have all publicly called for both private and public insurers to

  eliminate transgender-specific exclusions in health insurance



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      plans.

Mr. Manning’s Tenure as a Federal Employee

   40.   Mr. Manning worked for the Internal Revenue Service, a division

      of the United States Department of Treasury from 2010 through

      January 2021.

   41.   Mr. Manning joined the IRS through a special program which

      provides persons with visual impairments special training and

      placement in federal agencies.

Mr. Manning’s Medical Transition

   42.   In 2012, Mr. Manning decided to legally, medically, and socially

      transition from female to male. Around this same time Mr. Manning

      was diagnosed with gender dysphoria.

   43.   In January 2014, Mr. Manning started exogenous testosterone

      therapy under the supervision and care of the Emory Clinic for

      Endocrinology.

   44.   Mr. Manning continues to take testosterone to this very day.

   45.   After Mr. Manning started testosterone therapy, he sought a

      referral for male chest reconstruction.




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   46.   In late 2014, Mr. Manning identified Dr. Daniel Medalie, M.D. of

     Cleveland Plastic Surgery, based in Cleveland, Ohio, as his chosen

     surgeon. Dr. Medalie is a board-certified plastic and reconstructive

     surgeon. He obtained his bachelors magna cum laude from Harvard

     University and his medical doctorate from Cornell University.

   47.   The surgery Mr. Manning sought, male chest reconstruction,

     consists of a bilateral mastectomy and nipple areola reconstruction.

     The overarching therapeutic goal of male chest reconstruction is to

     afford the patient a male-typical chest.

   48.   The procedure Mr. Manning sought is the same precise treatment

     provided to nontrans boys and men diagnosed with gynecomastia.

     That same procedure is one of the most common male reconstructive

     surgeries performed in the United States today.

Mr. Manning’s FEHB Plan Administrator Aetna Denies Coverage

   49.   In early January 2015, Dr. Medalie’s office submitted a pre-

     authorization request to Aetna, the third-party administrator of Mr.

     Manning’s FEHB plan. In support of this request Dr. Medalie enclosed

     copies of letters of medical necessity attesting to Mr. Manning’s




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  medical need. Dr. Medalie’s request specifically included ICD codes for

  bilateral mastectomy and nipple-areola reconstruction.

50.   On January 30, 2015, Aetna notified Dr. Medalie and Mr. Manning

  via letter that it had approved the request for bilateral mastectomy,

  but declined coverage for nipple-areola reconstruction deeming the

  former but not the latter to be medically necessary for trans men.

51.   On or about April 9, 2015, the undersigned submitted a timely

  internal appeal to Aetna challenging denial of nipple-areola

  reconstruction.

52.   Mr. Manning’s appeal pointed out that Aetna’s denial was, by its

  own admissions, premised Mr. Manning’s sex and/or disability. This

  was evidenced by what were then active coverage bulletins cited by

  Aetna     which    reflect   that   nipple-areola     reconstruction       was

  categorically deemed not medically necessary when sought by trans

  men to treat gender dysphoria, but not any other beneficiary. It also

  pointed to another Aetna bulletin which evidenced that where double

  mastectomy was sought by a nontrans woman, Aetna categorically

  considered nipple-areola reconstruction to be medically necessary.




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53.   Mr. Manning’s surgeon, Dr. Medalie, submitted a letter dated

  March 5, 2015, in support of his appeal. In pertinent part, that letter

  states: “I am writing you regarding the denial of nipple reconstruction.

  This denial makes no sense because if mastectomies are performed,

  then the nipples are removed. The nipples then need to be rec-

  contoured and replaced as grafts. It is not normal to have no nipples.

  They are a normal part of a person’s anatomy and need to be restored.”

54.           Peer review medical literature points out that American

  health insurers, like Aetna, provide inconsistent coverage for male

  and female chest reconstruction surgery where sought by trans

  persons. See, e.g., Gaines Blasdel et al., Limited Coverage of Gender-

  Affiming Breask Insurance CPT Coding Criteria, 146 Plastic and

  Reconstructive Surgery 238e (Aug. 2020) (“The exclusion of specific

  CPT codes, frequently without clinical rationale, is medically

  unsupported. In addition, this practice is discriminatory, conflicts

  with established legal precedent, and may discourage surgeons from

  performing medically necessary procedures and significantly delay

  care . . . . Lack of consistent, clinically sound insurance coverage for

  medically necessary gender-affirming procedures limits the quality of


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    surgical care provided to transgender patients, who already face

    considerable health disparities. Lack of coverage forces patients and

    surgeons to delay care or creates significant burdens to patients.”)

  55.   On or about May 11, 2015, Aetna summarily denied Mr. Manning’s

    first-level internal appeal reaffirming its initial decision that nipple-

    areola reconstruction is not medically necessary for trans men.

  56.   Because Mr. Manning was advised by his surgeon that if he did not

    undergo bilateral mastectomy and nipple-areola reconstruction

    simultaneously he would have to forego having nipples for the rest of

    his life, Mr. Manning and his wife decided to pay for the procedure out

    of pocket.

  57.   On May 15,        2015,    Mr.   Manning underwent          male chest

    reconstruction surgery in Cleveland, Ohio. Dr. Medalie performed

    both bilateral mastectomy as well as nipple-areola reconstruction on

    Mr. Manning.

  58.   Mr. Manning and his wife bore the whole cost of the nipple-areola

    procedure, for which he was charged and actually paid approximately

    $1,375 out of pocket.

Mr. Manning Complains to OPM


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59.   On or about May 11, 2015, Mr. Manning filed a pre-complaint with

  OPM, as required by federal law.

60.   On or about May 26, 2015, just eleven days after Mr. Manning

  underwent surgery, an OPM investigator interviewed Mr. Manning

  via phone with his counsel to take down his complaint. OPM issued a

  Notice of Final Interview and Right to File a Formal Complaint that

  same day.

61.   On or about June 12, 2015, Mr. Manning submitted paperwork in

  support of his formal complaint. At that time, Mr. Manning notified

  OPM that he believed Aetna’s decision to deny him nipple-areola

  reconstruction was made on account of his sex and or disability.

62.   On January 11, 2016, OPM notified Mr. Manning that it was

  dismissing his complaint for failure to state a claim. In pertinent part,

  the Final Agency Decision letter indicated that Mr. Manning “is not

  aggrieved because he has not shown that the Agency caused him to

  suffer a harm or loss with respect to a term, condition, or privilege of

  employment for which there is a remedy.”




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Mr. Manning Appeals OPM’s FAD to the EEOC (First Appeal)

 63.   On February 17, 2016, Mr. Manning filed a timely notice of appeal

   to the U.S. Equal Employment and Equal Opportunity Commission

   (EEOC).

 64.   On March 17, 2016, Mr. Manning filed a merits brief in support of

   his appeal to the Commission. In that brief, Mr. Manning argued that

   OPM was responsible for Aetna’s failure to abide by federal law which

   forbids discrimination on the account of sex and disability in fringe

   benefits plans.

 65.   On May 4, 2016, OPM filed a merits response brief alleging among

   other things that it was (a) not responsible for Aetna’s management of

   FEHB plans and (b) federal law does not prohibit discrimination

   against trans persons on account of either sex or disability.

 66.   On March 6, 2017, the EEOC issued a merits decision in Mr.

   Manning’s appeal (Appeal No. 0120161068, Agency No. 2015024). The

   Commission held as a matter of federal law that trans employees like

   Mr. Manning have a right to equal coverage of health conditions and

   that trans specific exclusions violate Title VII and potentially also

   violate federal disability discrimination laws.


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  67.   The EEOC’s order directed OPM to submit a compliance report to

    the EEOC within 30 calendar days. No such report was ever filed by

    OPM

OPM Refuses to Abide by EEOC Order

  68.   From April 2017 through April 2021, Mr. Manning repeatedly

    asked that OPM comply with the EEOC’s March 2017 order.

  69.   OPM has steadfastly refused since 2017 to admit it is bound by the

    EEOC’s March 2017 order.

  70.   Mr. Manning’s counsel traveled in person to Washington, DC, made

    phone calls with OPM’s legal counsel, and has exchanged dozens of

    emails since 2017 all in an effort to resolve this case.

  71.   On the pretense that OPM required additional legal and medical

    authorities proving Mr. Manning is entitled to the relief granted him

    by the March 2015 EEOC order, he retained an expert witness, Dr.

    Randi Ettner, and submitted a twenty-nine page single spaced letter

    brief to OPM in June 2019.

  72.   From late 2019 onward, OPM’s counsel refused to respond or take

    calls from Mr. Manning’s counsel.




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   73.   From late 2019 onward, OPM’s counsel mistakenly emailed Mr.

     Manning’s counsel about other cases, evidencing that OPM was

     capable of drafting and responding to email communications.

   74.   On June 26, 2020, Mr. Manning’s counsel sent a letter to OPM

     advising that he had requested a final agency determination 346 days

     prior and OPM had yet to respond to that request.


Mr. Manning Appeals OPM’s Refusal to Abide by EEOC Order
(Second Appeal)


   75.   On April 23, 2021, Mr. Manning filed a notice of appeal to the EEOC

     seeking enforcement of the Commission’s March 2017 order against

     OPM.

   76.   On May 21, 2021, Mr. Manning filed a merits brief in support of his

     appeal.

   77.   To date, OPM has yet to file a brief in response to Mr. Manning’s

     appeal. OPM has yet to explain to the EEOC or Mr. Manning why it

     refused to respond to his appeal.

   78.   On June 18, 2021, an amicus brief in support of Mr. Manning’s

     second EEOC appeal was submitted by the National Center for

     Lesbian Rights, the National Center for Transgender Equality, and


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  the National LGBT Task Force in cooperation with the Quinnipiac

  University School of Law Legal Clinic.

79.   Mr. Manning has repeatedly requested that the EEOC issue a

  merits opinion on his appeal since 2021. Those requests have been

  made in writing and docketed in the administrative appeal system.

80.   For example, in a request dated March 28, 2024, Mr. Manning

  pleaded with the Commission to adjudicate his case, sharing that “It

  saddens me that after 9 years I still have not been granted the closure

  on this dark chapter of my life. This ordeal has hurt not just me but

  my wife. The toll of living for so many years as a second-class worker

  and citizen has been very difficult. I have, among other things, sought

  mental health support to deal with the trauma of being treated as if

  my medical needs do not matter simply because I am transgender.”

81.   As another example, in a request dated July 12, 2024, asked the

  EEOC to “render a decision on his merits case so that he might, at last,

  have closure.”

82.   On September 5, 2024, OPM reached out to Mr. Manning’s counsel

  via email on the pretense that OPM “would like to discuss the

  potential of a settlement agreement” and directed the undersigned to



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  work with OPM attorney Katherine Brewer. That same day the

  undersigned emailed Ms. Brewer asking if OPM had settlement terms

  to propose.

83.   On September 11, 2024, Mr. Brewer asked the undersigned to send

  a formal demand letter to OPM.

84.   On September 20, 2024, the undersigned transmitted a formal

  demand letter. In addition to money damages, attorneys’ fees, and

  costs, Mr. Manning demanded that OPM issue him a formal apology.

85.   On October 24, 2024, Ms. Brewer responded via email indicating

  that she lost Mr. Manning’s demand letter. That same day, the letter

  was retransmitted to Ms. Brewer via email. That same day Ms.

  Brewer asked if Mr. Manning would agree to participate in a

  mediation. That same day, the undersigned indicated that Mr.

  Manning would agree to mediation but he was worried that without

  any olive branch demonstrating good faith efforts to resolve the matter

  mediation would be pointless. Ms. Brewer never responded to that

  email.

86.   Efforts to contact Ms. Brewer’s supervisor, Charles M. Nimmons,

  have also gone unanswered.



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87.   Despite OPM’s repeated demands that Mr. Manning calculate the

  damages, costs, and attorneys’ due to him from 2015 to present, OPM

  has never extended a settlement offer to Mr. Manning.



                               COUNT ONE

                            Sex Discrimination
       in Violation of Title VII of the Civil Rights Act of 1964 and
                 Section 1557 of the Affordable Care Act


88.   Plaintiff re-alleges each and every allegation contained in

  paragraphs 1–87.

89.   Title VII of the Civil Rights Act of 1964 prohibits discrimination

  “because of . . . sex.”

90.   In Bostock v. Clayton County, 590 U.S. 644 (2020), the Supreme

  Court held that discrimination on account of “transgender status” is

  sex discrimination in violation of Title VII.

91.   In 2014 and 2015, OPM contracted with third-party health plan

  administrators, including Aetna, to provide fringe health benefits to

  federal employees. During this period, OPM was aware that some of

  the third-parties it contracted with had trans exclusions (partial and

  full) as terms of FEHB plans.


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92.   Since at least 2015, OPM has dubiously insisted that it bears no

  responsibility for the discriminatory conduct of the third-party

  administrators, like Aetna, whom it contracted with to provide FEHB

  plans.

93.   Evidence reflects that under that same plan, Aetna considers nipple

  areola reconstruction to be per se medically necessary when sought by

  a nontrans women seeking bilateral mastectomy or a nontrans man

  seeking the same procedure to treat gynecomastia.

94.   Defendant OPM discriminated against Mr. Manning because of his

  sex by denying him fringe benefits without a trans healthcare

  exclusion. But for Mr. Manning being a trans man, the FEHB plan

  provided to him by OPM would not have denied his request for

  coverage of nipple-areola reconstruction made in conjunction with a

  request for bilateral mastectomy.

95.   Defendant OPM also discriminated against Mr. Manning by

  refusing to abide by a binding EEOC decision ordering it to comply

  with federal nondiscrimination law and remedy Mr. Manning’s denial

  of coverage.




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96.   Defendant OPM’s willful refusal to follow the EEOC’s March 2017

  order, its refusal to participate in Mr. Manning’s June 2021 appeal

  seeking enforcement of that order, are actions so severe and pervasive

  as to constitute hostilities on account of sex.

97.   Defendant OPM’s acts and omissions violate Title VII of the Civil

  Rights Act of 1964 as well as Section 1557 of the Affordable Care Act,

  both of which prohibit discrimination on account of sex in employer

  provided health plans.

98.   As a direct and legal result of Defendant OPM’s actions and

  omissions, Mr. Manning has suffered and continues to suffer damages

  including,    without   limitation,     pain and suffering;       emotional,

  psychological, and physical distress; and other pecuniary losses not yet

  ascertained.



                               COUNT TWO

                             Sex Discrimination
               in Violation of the United States Constitution

99.   Plaintiff re-alleges each and every allegation contained in

  paragraphs 1–98.




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100. The Equal Protection Clause of the Fourteenth Amendment

  guarantees all persons equal protection before the law. This right is

  reverse incorporated against the federal government by the Fifth

  Amendment.

101. There is no trans exclusion to constitutional equal protection.

102. The scope of equal protection was further extended by the

  Nineteenth Amendment, which gives women the right to vote and

  other civil rights, as well as the Twenty-eighth Amendment,

  colloquially known as the Equal Rights Amendment, which states in

  Section 1 that “Equality of rights under the law shall not be denied or

  abridged by the United States or by any State on account of sex.”

103. As required by Article V of the United States Constitution, the

  Twenty-eighth Amendment was ratified by the United States

  Congress in 1972. Thereafter, the Amendment was transmitted to the

  states for ratification.

104. On January 27, 2020, Virginia became the thirty-eighth state to

  ratify the Twenty-eighth amendment, in total satisfaction of Article

  V’s requirement that 2/3 of states ratify an amendment.




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105. As per Section 3 of the Twenty-eighth Amendment, “This

  amendment shall take effect two years after the date of ratification.”

106. It has been more than four years since Virginia ratified the Twenty-

  Eighth Amendment, it is thus now in effect.

107. Some commentators have suggested that the Twenty-eighth

  Amendment is not ratified, citing non-amendment text suggesting

  that an exploding deadline for ratification was imposed by Congress.

108. However, neither Article I nor Article V of the United States

  Constitution expressly give Congress the power to clawback an

  amendment after Congress has ratified it.

109. In 2014 and 2015, OPM contracted with third-party health plan

  administrators, including Aetna, to provide fringe health benefits to

  federal employees. During this period, OPM was aware that some of

  the third-parties it contracted with had trans exclusions (partial and

  full) as terms of FEHB plans.

110. Since at least 2015, OPM has dubiously insisted that it bears no

  responsibility for the discriminatory conduct of the third-party

  administrators, like Aetna, whom it contracted with to provide FEHB

  plans.



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111. Evidence reflects that under that same plan, Aetna considers nipple

  areola reconstruction to be per se medically necessary when sought by

  a nontrans women seeking bilateral mastectomy or a nontrans man

  seeking the same procedure to treat gynecomastia.

112. Defendant OPM discriminated against Mr. Manning because of his

  sex by denying him fringe benefits without a trans healthcare

  exclusion. But for Mr. Manning being a trans man, the FEHB plan

  provided to him by OPM would not have denied his request for

  coverage of nipple-areola reconstruction made in conjunction with a

  request for bilateral mastectomy.

113. Defendant OPM also discriminated against Mr. Manning by

  refusing to abide by a binding EEOC decision ordering it to comply

  with federal nondiscrimination law and remedy Mr. Manning’s denial

  of coverage.

114. Defendant OPM’s willful refusal to follow the EEOC’s March 2017

  order, its refusal to participate in Mr. Manning’s June 2021 appeal

  seeking enforcement of that order, are actions so severe and pervasive

  as to constitute hostilities on account of sex.




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                              COUNT THREE

                         Disability Discrimination
              in Violation of the Rehabilitation Act of 1973,
            the Americans with Disabilities Act of 1991, and
                 Section 1557 of the Affordable Care Act

115. Plaintiff re-alleges each and every allegation contained in

  paragraphs 1–111.

116. Mr. Manning’s 2015 FEHB plan, administered by Aetna, denied

  coverage of nipple areola reconstruction on the pretense that the

  procedure is not medically necessary when sought as treatment for

  gender dysphoria, a disability that manifests as a physical

  impairment.

117. Evidence reflects that under that same plan, Aetna considers nipple

  areola reconstruction to be per se medically necessary when sought by

  nontrans women and nontrans men seeking bilateral mastectomy for

  a condition other than gender dysphoria.

118. Based on his diagnosis of gender dysphoria, Mr. Manning is a

  member of the class of persons protected by the Rehabilitation Act, the

  Americans with Disabilities Act, and Section 1557 of the Affordable


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  Care Act which makes it unlawful for public entities to discriminate

  against an individual with a disability, or to deny the benefits of the

  services, programs, or activities of a public entity to a person with a

  disability.

119. In 2014 and 2015, OPM contracted with third-party health plan

  administrators, including Aetna, to provide fringe health benefits to

  federal employees. During this period, OPM was aware that some of

  the third-parties it contracted with had trans exclusions (partial and

  full) as terms of FEHB plans.

120. Since at least 2015, OPM has dubiously insisted that it bears no

  responsibility for the discriminatory conduct of the third-party

  administrators, like Aetna, whom it contracted with to provide FEHB

  plans.

121. Evidence reflects that under that same plan, Aetna considers nipple

  areola reconstruction to be per se medically necessary when sought by

  a nontrans women seeking bilateral mastectomy or a nontrans man

  seeking the same procedure to treat gynecomastia.

122. Defendant OPM discriminated against Mr. Manning because of his

  disability by denying him fringe benefits without a trans healthcare



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  exclusion. But for Mr. Manning being seeking treatment on account of

  his gender dysphoria diagnosis/ disability, the FEHB plan provided to

  him by OPM would have covered his request for nipple-areola

  reconstruction made in conjunction with a request for bilateral

  mastectomy.

123. Defendant OPM’s acts and omissions violate the Rehabilitation Act,

  the Americans with Disabilities Act, and Section 1557 of the

  Affordable Care Act all of which prohibit discrimination on the basis

  of physical and mental disability, and protects persons such as Mr.

  Manning from the type of injuries and damages set forth herein.

124. Defendant OPM discriminated against Mr. Manning because of his

  disability by denying him fringe benefits without a trans healthcare

  exclusion. But for Mr. Manning’s gender dysphoria diagnosis, the

  FEHB plan provided to him by OPM would not have denied his request

  for coverage of nipple-areola reconstruction made in conjunction with

  a request for bilateral mastectomy.

125. Defendant OPM also discriminated against Mr. Manning by

  refusing to abide by a binding EEOC decision ordering it to comply




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  with federal nondiscrimination law and remedy Mr. Manning’s denial

  of coverage.

126. As a direct and legal result of Defendant OPM’s and Aetna’s

  actions and omissions, Mr. Manning has suffered and continues to

  suffer damages including, without limitation, pain and suffering;

  emotional, psychological, and physical distress; and other pecuniary

  losses not yet ascertained.



                             COUNT FOUR

                       Disability Discrimination
            in Violation of the United States Constitution


127. Plaintiff re-alleges each and every allegation contained in

  paragraphs 1–120.

128. The Equal Protection Clause of the Fourteenth Amendment

  guarantees all persons equal protection of the law. This right is

  reverse incorporated against the federal government by the Fifth

  Amendment.

129. There is no gender dysphoria exclusion to constitutional equal

  protection.



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130. For equal protection purposes, Mr. Manning’s gender dysphoria

  diagnosis qualifies him as a person with a disability.

131. In 2014 and 2015, OPM contracted with third-party health plan

  administrators, including Aetna, to provide fringe health benefits to

  federal employees. During this period, OPM was aware that some of

  the third-parties it contracted with had trans exclusions (partial and

  full) as terms of FEHB plans.

132. Since at least 2015, OPM has dubiously insisted that it bears no

  responsibility for the discriminatory conduct of the third-party

  administrators, like Aetna, whom it contracted with to provide FEHB

  plans.

133. Evidence reflects that under that same plan, Aetna considers nipple

  areola reconstruction to be per se medically necessary when sought by

  a nontrans women seeking bilateral mastectomy or a nontrans man

  seeking the same procedure to treat gynecomastia.

134. Defendant OPM discriminated against Mr. Manning because of his

  disability by denying him fringe benefits without a trans healthcare

  exclusion. But for Mr. Manning being seeking treatment on account of

  his gender dysphoria diagnosis/ disability, the FEHB plan provided to



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   him by OPM would have covered his request for nipple-areola

   reconstruction made in conjunction with a request for bilateral

   mastectomy.

135. Defendant OPM also discriminated against Mr. Manning by

   refusing to abide by a binding EEOC decision ordering it to comply

   with federal nondiscrimination law and remedy Mr. Manning’s denial

   of coverage.

136. As a direct and legal result of Defendant OPM’s actions and

   omissions, Mr. Manning has suffered and continues to suffer damages

   including,     without   limitation,     pain and suffering;        emotional,

   psychological, and physical distress; and other pecuniary losses not yet

   ascertained.



                            PRAYER FOR RELIEF

WHEREFORE, Plaintiff requests that the Court grant the following

relief:

   A. Order Defendant to institute and carry out new policies, practices,

      and    programs       to   prevent      unlawful     sex   and     disability

      discrimination;



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  B. Order Defendant to institute and carry out polices, practices, and

     programs to report, investigate, and effectively redress complaints

     about unlawful sex and disability discrimination;

  C. Order Defendant to train their employees on constitutional and

     federal statutory prohibitions against unlawful sex and disability

     discrimination;

  D. Order Defendant to compensate Mr. Manning with monetary relief

     for the damages he suffered including, but not limited to, loss of

     fringe benefits, humiliation, and loss of enjoyment of life.

  E. Order any further relief necessary to make Mr. Manning whole;

  F. Award such additional relief as justice may require, together with

     Plaintiff’s costs, disbursements, and attorneys’ fees in this action

     and the underlying agency actions.

Dated: February 5, 2025

                             Respectfully submitted,

                             /s/ Ezra Young
                             Ezra Young (NY Bar No. 5283114)
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                             210 North Sunset Drive
                             Ithaca, NY 14850
                             P: (949) 291-3185
                             ezra@ezrayoung.com



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                     CERTIFICATE OF SERVICE

     I certify that on February 5, 2025, I electronically filed the foregoing

Status Report with the Clerk of Court for the United States District

Court for the District of Columbia by using the CM/ECF system. All

participants in the case are registered CM/ECF users and service will be

accomplished by the appellate CM/ECF system.

                                               /s/ Ezra Young

                                               Ezra Ishmael Young




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